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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


     In re:                                                            Chapter 11

     Silvergate Capital Corporation,                                   Case No. 24-12158 (KBO)

                                                 Debtor.               Re: Docket No. 2
     Tax I.D. No. XX-XXXXXXX

     In re:                                                            Chapter 11

     Silvergate Liquidation Corporation,                               Case No. 24-12159 (KBO)

                                                 Debtor.               Re: Docket No. 2
     Tax I.D. No. XX-XXXXXXX

     In re:                                                            Chapter 11

     Spring Valley Lots, LLC,                                          Case No. 24-12157 (KBO)

                                                 Debtor.               Re: Docket No. 2
     Tax I.D. No. XX-XXXXXXX


                              ORDER DIRECTING JOINT
                  ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

           Upon the motion (the “Motion”)1 of the Debtors for entry of an order (this “Order”)

directing the joint administration of the above-captioned chapter 11 cases (these “Chapter 11

Cases”) for procedural and administrative purposes only, as more fully set forth in the Motion; and

the Court having reviewed the Motion and the First Day Declaration; and the Court having

jurisdiction to consider the Motion and the relief requested therein in accordance with 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012; and the Court having found that this




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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that this Court may enter a final order

consistent with Article III of the United States Constitution; and the Court having found that venue

of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and it appearing that proper and adequate notice of the Motion has been given and that no other or

further notice is necessary, except as set forth in the Motion with respect to entry of this Order;

and upon the record herein; and after due deliberation thereon; and the Court having determined

that the relief requested in the Motion is in the best interests of the Debtors, their estates, their

creditors, and other parties in interest, it is hereby

         ORDERED, ADJUDGED, AND DECREED THAT:

         1.     The Motion is GRANTED as set forth herein.

         2.     The above-captioned Chapter 11 Cases shall be consolidated for procedural

purposes only and shall be jointly administered by the Court under the case number assigned to

Silvergate Capital Corporation, Case No. 24-12158, and the consolidated caption of the jointly

administered cases should read as follows:

                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

SILVERGATE CAPITAL CORPORATION, et                            Case No. 24-12158 (KBO)
al.
                                                              (Jointly Administered)
                            1
                 Debtors.



         3.     The caption shall include the following footnote in each pleading filed and notice

mailed by the Debtors:

                The Debtors in these chapter 11 cases, along with the last four digits of each
                Debtor’s federal tax identification number, as applicable, are as follows:
                                                     2
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               Silvergate Capital Corporation (7337), Silvergate Liquidation Corporation
               (4449) and Spring Valley Lots, LLC (0474). The Debtors’ mailing address
               is 4225 Executive Square, Suite 600, La Jolla, CA 92037.

       4.      The foregoing caption and footnote satisfy the requirements set forth in section

342(c)(1) of the Bankruptcy Code and Bankruptcy Rule 2002(n).

       5.      A docket entry shall be made in each of the Chapter 11 Cases, except that of

Silvergate Capital Corporation, substantially as follows:

               The Bankruptcy Court has entered an order in accordance with Rule 1015(b)
               of the Federal Rules of Bankruptcy Procedure directing the joint
               administration and procedural consolidation of the chapter 11 cases of
               Silvergate Capital Corporation and its affiliated debtors. The docket in the
               case of Silvergate Capital Corporation, Case No. 24-12158 (KBO) should
               be consulted for all matters affecting these cases.

       6.      The procedural consolidation shall be for administrative purposes only and nothing

contained in the Motion or this Order shall be deemed or construed as directing or otherwise

effecting the substantive consolidation of the Chapter 11 Cases.

       7.      The Debtors are authorized and empowered to take all actions necessary to

implement and effectuate the relief granted in this Order.

       8.      This Order shall take effect immediately upon entry.

       9.      This Court retains jurisdiction with respect to all matters arising from or related to

the enforcement of this Order.




   Dated: September 18th, 2024                         KAREN B. OWENS
   Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE

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